861 F.2d 264Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David Charles HILL, Plaintiff-Appellant,v.Ted BEATTY, Spartanburg Sheriff's Department, Dennie Taylor,Supervisor, Spartanburg Maintenance, Defendants-Appellees.
    No. 88-7151.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 27, 1988.Decided Sept. 26, 1988.
    
      David Charles Hill, appellant pro se.
      Barbara Howe McArthur, Nelson, Mullins, Riley &amp; Scarborough, for appellees.
      Before CHAPMAN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      David Charles Hill appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Hill v. Beatty, C/A No. 87-1564 (D.S.C. May 12, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    